                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

In re:
                                                     Chapter 7
Joseph G. DuMouchelle and Melinda
J. Adducci                                           Case No. 19-54531

                                                     Honorable Lisa Gretchko
          Debtors.
____________________________________/

Teodor Gelov

              Plaintiff,

v.

Joseph G. DuMouchelle and Melinda                    Adversary Pro. No. 20-04172
J. Adducci

     Defendants.
____________________________________/

      STIPULATED ORDER: (I) EXTENDING PLAINTIFF’S RESPONSE
     DEADLINE TO DEFENDANTS’ MOTION FOR PROTECTIVE ORDER
     AND TO DEFENDANTS’ DISCOVERY REQUESTS, (II) EXTENDING
        DISCOVERY CUT OFF, EXPERT REPORT DEADLINE, AND
        DISPOSITIVE MOTION DEADLINE, AND (III) SCHEDULING
           ADJOURNED DATES FOR JOINT FINAL PRETRIAL
                     CONFERENCE AND TRIAL

         THIS MATTER came before the Court upon the stipulation (“Stipulation”;
ECF No. 142) between Teodor Gelov (“Plaintiff”) and Joseph G. DuMouchelle and
Melinda J. Adducci (collectively, “Defendants”) consenting to the terms of this
Order. Based upon the Stipulation, the Court finds cause to enter this Order.




  20-04172-lsg    Doc 143   Filed 04/28/23   Entered 04/28/23 11:12:17   Page 1 of 2
        NOW, THEREFORE, IT IS HEREBY ORDERED that the deadline for
Plaintiff to respond to Defendants’ Motion for Protective Order (ECF No. 132) and
to respond to Defendants’ discovery requests (ECF No. 131) is extended to May 26,
2023.
        IT IS FURTHER ORDERED that the deadline for conclusion of discovery
is extended to August 21, 2023.
        IT IS FURTHER ORDERED that the expert report deadline is extended to
August 7, 2023.
        IT IS FURTHER ORDERED that the dispositive motion deadline is
extended to September 29, 2023.
        IT IS FURTHER ORDERED that the joint final pretrial conference
(previously scheduled for September 18, 2023) is adjourned to January 29, 2024
at 10:00 a.m. before the Honorable Lisa S. Gretchko, 211 W. Fort Street, 19th
Floor, Courtroom 1975, Detroit, Michigan.
        IT IS FURTHER ORDERED that trial of this matter (previously
scheduled for October 4, 2023 and October 5, 2023) is adjourned to February 7,
2024 and February 8, 2024, at 9:00 a.m. before the Honorable Lisa S. Gretchko,
211 W. Fort Street, 19th Floor, Courtroom 1975, Detroit, Michigan.
        IT IS FURTHER ORDERED that, except as amended in this Order, the
September 16, 2022 Adversary Proceeding Scheduling Order (ECF No. 114) remains
in full force and effect.


Signed on April 28, 2023




  20-04172-lsg    Doc 143   Filed 04/28/23   Entered 04/28/23 11:12:17   Page 2 of 2
